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                      THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


  In re:                                        §
                                                §                   Case No. 22-33553
  Alexander E. Jones,                           §
                                                §                      (Chapter 7)
           Debtor.                              §


       STIPULATION AND AGREED ORDER ABATING THE DEADLINE
 TO RESPOND TO THE DEBTOR’S CONSOLIDATED OBJECTION TO PROOFS OF
                 CLAIM FILED BY TEXAS PLAINTIFFS

                                [Relates to Docket Nos. 704, 771]

       WHEREAS, on December 2, 2022 (“Petition Date”), Alexander E. Jones (“Debtor”)

filed his voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Southern District of Texas (“Court”).

       WHEREAS, on June 13, 2024, the Debtor filed his Consolidated Objection to Proofs of

Claim filed by Texas Plaintiffs [DE 704] (the “Claim Objection”).

       WHEREAS, on June 14, 2024 (“Conversion Date”), the Court entered an Order [DE 708]

converting the bankruptcy case from a case under chapter 11 of the Bankruptcy Code to a case

under chapter 7 of the Bankruptcy Code.

       WHEREAS, upon conversion of the bankruptcy case to a case under chapter 7 of the

Bankruptcy Code, Christopher R. Murray was duly appointed as the chapter 7 trustee (“Trustee”)

of the Debtor’s bankruptcy estate (“Estate”).

       WHEREAS, under the applicable rules, the deadline to file a response to the Claim

Objection was July 15, 2024 (“Original Response Deadline”).

       WHEREAS, on July 16, 2024, this Court entered the Stipulation and Agreed Order

Extending the Deadline for Parties to Respond to the Debtor’s Consolidated Objection to Proofs
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of Claim Filed by the Texas Plaintiffs [DE 771] extending the Original Response Deadline to

August 14, 2024 (the “Modified Response Deadline”).

        WHEREAS, the Trustee and the Debtor agreed to abate the Modified Response Deadline

to aid in a more efficient administration of the Debtor’s case post- conversion.

    NOW, THEREFORE, IT IS STIPULATED AND AGREED BY THE PARTIES
HERETO AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO
ORDERED THAT:

        1.      The above recitals are incorporated by reference herein with the same force and

effect as if fully set forth hereafter.

        2.      The deadline for all parties identified in the Claim Objection as “Texas Plaintiffs”

(collectively, the “Parties”) to respond to the Claim Objection shall be abated until the earlier of

fourteen (14) days after (1) the completion of appeals in the above-captioned chapter 7 proceeding,

including all adversary proceedings, or (2) the Parties reach a settlement regarding the Texas

Plaintiffs’ claims.

        3.      Notwithstanding anything in the Bankruptcy Code or the Bankruptcy Rules to the

contrary, this Stipulation and Agreed Order shall be effective immediately upon the Court’s

approval.

        4.      The Court has exclusive jurisdiction and power regarding the implementation,

interpretation and enforcement of this Stipulation and Agreed Order.

Dated: August 14, 2024.

IT IS SO ORDERED.




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AGREED AS TO FORM AND SUBSTANCE:

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